     Case: 1:15-cv-00605-MRB Doc #: 39 Filed: 01/26/16 Page: 1 of 56 PAGEID #: 1973




                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF OHIO
                                WESTERN DIVISION


JOHN DOE,                                  *
     Plaintiff,                            *
                                           *
v.                                         *       CIVIL ACTION NO. 1:15-cv-605
                                           *
MIAMI UNIVERSITY, et al.,                  *
    Defendants                             *
                                           *


                                 First Amended Complaint

         Plaintiff John Doe (“John Doe”),1 by his attorneys, complains as follows against

Defendants: (a) Miami University (“Miami”), (b) Jane Doe (“Jane Doe”), (c) Miami Vice President

of Student Affairs Dr. Jayne Brownell (“VP Brownell”); (d) Miami’s Office of Ethics and Student

Conflict Resolution’s (“OESCR”) Director Susan Vaughn (“Director Vaughn”); (e) Miami Asso.

Professor Alana Van Grudy-Yoder (“Van Grudy-Yoder”); (f) Miami Professor Steven Elliot

(“Elliot”); and (g) Miami’s Appeals Board Chair Rose Marie Ward (“Ward”). (VP Brownell,

Director Vaughn, Van Grudy-Yoder, Elliot, and/or Ward collectively referred to as “State

Defendants”).




1
 See generally, John Doe’s Motion To Allow the Parties to Use Pseudonyms (containing the basis
for John Doe’s request for using pseudonyms in this proceeding).


                                                                                             1
     Case: 1:15-cv-00605-MRB Doc #: 39 Filed: 01/26/16 Page: 2 of 56 PAGEID #: 1974




                                   NATURE OF THE ACTION


1.       John Doe seeks damages and injunctive relief to remedy emotional, mental, economic, and

         physical harm caused by Defendants.

2.       John Doe’s harm stems from discipline Miami and State Defendants imposed on John Doe

         after Jane Doe falsely accused John Doe of engaged in sexual misconduct on or about

         September 14, 2014 while both were students at Miami.

3.       John Doe did not engage in sexual misconduct on September 14, 2014. Rather, Jane Doe

         initiated all relevant physical contact with John Doe on that date when she knew or should

         have known John Doe lacked the capacity to consent because he was incapacitated by

         alcohol. Jane Doe’s initiation of this contact includes, but is not limited to, the following

         actions or admissions by Jane Doe:

            a. Jane Doe admits that prior to September 14, 2014 she both: (i) “had made
               out with” John Doe; and (ii) “dated” John Doe’s roommate Nik”;

            b. Prior to encountering John Doe on September 14, 2014, Jane Doe believed
               John Doe and Nik were “both a little drunk” based on “snapchatting
               pictures” Nik sent to Jane Doe;

            c. Jane Doe met up with John Doe and Nik in part because she wanted to get
               away from a “creepy” guy who had wanted to “take [her] back” to his room
               the “weekend before” and she “wasn’t interested;”

            d. Jane Doe stated she “kinda sobered up” when she arrived at John Doe and
               Nik’s room and “decided to stay there” after John Doe and Nik told her she
               could “pick a bed” and stay the night;

            e. Jane Doe stated she “picked [John Doe’s] bed because [she] thought that
               would be less weird” and “just kind of assumed [John Doe and Jane Doe]
               might make out again;”



                                                                                                    2
     Case: 1:15-cv-00605-MRB Doc #: 39 Filed: 01/26/16 Page: 3 of 56 PAGEID #: 1975




            f. Initially, Jane Doe expected Nik was going to leave the room. When that
               did not occur, she stated she “got in bed [with John Doe] and turned of[f]
               the lights” until she thought “Nik was asleep;”

            g. At this point, Jane Doe stated John Doe “started kissing me and that was
               okay and what I expected and fine.” John Doe asked Jane Doe if he could
               “finger” her and Jane Doe said “fine”; and

            h. At some point, Jane Doe alleges John Doe performed oral sex on Jane Doe.
               In her written statement, she stated “I never said no. I pushed him away.
               He rolled over and went to sleep.” See generally, Exhibit A, ¶2
               (authenticating Exhibit 1 which contains Jane Doe’s statement with John
               Doe and Jane Doe’s names redacted).

4.       When Jane Doe and John Doe awoke in the morning, Jane Doe stated that her phone did

         not work. Because John Doe believed he was the last person to handle the phone, John Doe

         went to the store with Jane Doe where John Doe purchased Jane Doe a new phone.

5.       Sometime during the time it took to purchase the new phone, Jane Doe told John Doe that,

         although he did stop, he did not immediately stop when she requested that he not perform

         oral sex. Jane Doe stated John Doe immediately “apologized.” Exhibit 1. Jane Doe admits

         she accepted John Doe’s apology because “[b]y the end of the car ride [she] had forgiven

         him and still wanted to be friends with him” because she “was fine with that.” Id.

6.       The only information John Doe possesses regarding his interactions with Jane Doe in his

         bed on September 14, 2014 come from Jane Doe because John Doe’s alcohol intake caused

         him to become incapacitated prior to Jane Doe entering his bed.

7.       Nevertheless, during the fall of 2014, Miami engaged in a gender biased investigation of

         John Doe which culminated in John Doe’s suspension from Miami even though Miami

         possessed facts proving Jane Doe initiated all relevant physical contact with John Doe

         when she knew or should have known John Doe lacked the capacity to consent because he




                                                                                               3
     Case: 1:15-cv-00605-MRB Doc #: 39 Filed: 01/26/16 Page: 4 of 56 PAGEID #: 1976




         was incapacitated by alcohol. In doing so, Miami and/or State Defendants violated

         Miami’s policies, John Doe’s Due Process rights, and Title IX.

                                 PARTIES, JURISDICTION, VENUE

8.       Although John Doe was a student at Miami in the fall of 2014, he currently resides in the

         State of Connecticut.

9.       Defendant Miami is an instrumentality of the State of Ohio with its principal place of

         business in Butler County, Ohio.

10.      Upon information and belief, Defendant Jane Doe is a current student at Miami and resides

         at Miami’s campus in Oxford, Ohio.

11.      During time periods relevant to this Complaint, Defendant VP Brownell was employed by

         Miami as Vice President of Student Affairs.

12.      During time periods relevant to this Complaint, Defendant Director Vaughn was employed

         by Miami in Miami’s OESCR office.

13.      During time periods relevant to this Complaint, Defendant Van Grudy-Yoder was

         employed by Miami as faculty member.

14.       During time periods relevant to this Complaint, Defendant Elliot was employed by Miami

         as faculty member.

15.      During time periods relevant to this Complaint, Defendant Ward was employed by Miami

         as faculty member.

16.      This Court has diversity and supplemental jurisdiction pursuant to, among other things, 20

         U.S.C. §§1681-1688; 28 U.S.C. § 2201, 28 U.S.C. § 2202, 42 USC §1983, and 28 U.S.C.

         § 1651 because (a) John Doe and Defendants are citizens of different states and the amount

         in controversy exceeds $75,000.00, exclusive of costs and interests, and (b) John Doe’s



                                                                                                 4
 Case: 1:15-cv-00605-MRB Doc #: 39 Filed: 01/26/16 Page: 5 of 56 PAGEID #: 1977




      state law claims are so closely related to his federal law claims as to form the same case or

      controversy under Article III of the U.S. Constitution.

17.   This Court has personal jurisdiction over Defendants on the grounds that Defendants reside

      and/or conduct business within the State of Ohio.

18.   Venue rests with this Court pursuant to 28 U.S.C. §1391 because a substantial part of the

      events or omissions giving rise to the claims occurred in its judicial district.

                                 Facts Common to All Counts

19.   John Doe is from Connecticut where he worked diligently in high school, graduated with

      a good academic record and scored in the top percentiles on the SAT, a standardized college

      entrance examination.

20.   Setting his sights on a college education from a top ranked college, John Doe was excited

      to accept an offer to attend Miami which was the alma mater of his father. John Doe was

      accepted into Miami’s Honors program and began his studies in the fall of 2013.

21.   While at Miami, John Doe met Jane Doe and they kissed several times on different

      occasions prior to September 14, 2014. At all times, their physical encounters were wholly

      consensual.

22.   Around 8:00pm on September 13, 2014, John Doe and his roommate Nik went to a party

      where John Doe consumed approximately six beers. On or about 12:00pm, John Doe

      joined his friends at a bar and drank at least two more beers and four shots of alcohol before

      leaving the bar in the early morning hours of September 14, 2014. Prior to leaving the bar,

      John Doe became disoriented, his speech was slurred, and he was exhibiting a loss of

      equilibrium. John Doe has no clear recollection of when he left the bar or what occurred

      while walking back to his dorm.



                                                                                                  5
 Case: 1:15-cv-00605-MRB Doc #: 39 Filed: 01/26/16 Page: 6 of 56 PAGEID #: 1978




23.   Based on the subsequent review of his cellphone, John Doe knows he called Jane Doe and

      exchanged text messages with Jane Doe during the early morning hours of September 14,

      2014.

24.   John Doe recalls Jane Doe joining him in bed on the early morning hours of September 14,

      2014. But, John Doe has no independent recollection of what occurred between the time

      Jane Doe entered his bed and when he awoke the next morning in part because his excessive

      alcohol consumption caused him to become incapacitated.

25.   As detailed above, when Jane Doe expressed anxiety about her phone being ruined, John

      Doe apologized to Jane Doe because he blacked out and had no recollection of what

      happened to her phone. Because John Doe believed that he had been the last person to

      handle Jane Doe’s phone, John Doe offered to buy her a new one.

26.   During conversations that occurred while John Doe and Jane Doe went to purchase the

      phone, Jane Doe informed John Doe that she was uncomfortable that he began to perform

      oral sex on Jane Doe. John Doe immediately apologized and informed Jane Doe that he

      was so intoxicated that he had no recollection of any of the interactions he had with Jane

      Doe earlier in the morning. After John Doe purchased a new phone for Jane Doe, she told

      him that she forgave him and still wanted to be friends.

27.   On September 14, 2014, Jane Doe and John Doe exchanged the following text messages:

              Jane Doe: “[y]ou know I’m not mad at you right”

              John Doe: “I know [e]veryone else is mad at me.”

              John Doe: “Im sorry about everything [Jane Doe] I truly am.”

              Jane Doe: “I know, I’m not mad. I’m just upset about it.”




                                                                                              6
 Case: 1:15-cv-00605-MRB Doc #: 39 Filed: 01/26/16 Page: 7 of 56 PAGEID #: 1979




             John Doe: “So am I [t]hats not me Im disgusted with myself.” See
             generally, Exhibit A, ¶3 (authenticating Exhibit 2 containing said text
             messages from which John Doe and Jane Doe’s names have been redacted).

      John Doe sent the text messages above in part because he had no recollection what

      happened the night before and could not believe he engaged in the conduct described given

      his affection for Jane Doe and desire to honor her wishes regarding their relationship.

28.   Upon information and belief, on or about September 14, 2014 the following events

      occurred: (a) Jane Doe told a male friend (“Friend#1”) that Jane Doe was uncomfortable

      with her interaction with John Doe, but asked Friend#1 not to say anything to anyone about

      the issue; (b) Friend#1 told a female friend of Jane Doe (Friend#2) that John Doe sexually

      assaulted Jane Doe; (c) Friend#2 then told a Miami Resident Advisor (“RA#1”) and myriad

      others that John Doe sexually assaulted Jane Doe.

29.   On or about September 14, 2014, RA#1 asked John Doe what happened with Jane Doe and

      John Doe stated he did not remember the night because he was under the influence of

      alcohol. RA#1 told her superiors at Miami that RA#1 was concerned that the allegations

      that John Doe had assaulted someone might cause him to harm himself.

30.   At 4:59 pm on September 16, 2014, Miami Associate Vice President of Dean Of Students

      Michael Curme (“Dean Curme”) provided John Doe with Exhibit 3 which informed John

      Doe that Miami would hold a “summary suspension hearing” at 2:30pm the next day. Dean

      Curme informed John Doe that this “summary suspension hearing” stemmed from a “report

      alleging that you sexually assaulted a female student on Sunday September 14, 2014.” See,

      Exhibit A, ¶4 (authenticating Exhibit 3 from which John Doe’s names have been redacted).

31.   At 2:30pm on September 17, 2014, Dean Curme audiotaped a conversation with John Doe.

      During this audiotaped conversation, Dean Curme informed John Doe of the results of the



                                                                                                7
 Case: 1:15-cv-00605-MRB Doc #: 39 Filed: 01/26/16 Page: 8 of 56 PAGEID #: 1980




      “summary suspension hearing” which included, but were not limited to, the following

      prohibitions contained in Exhibit 4: “[y]ou are to have no further contact with [Jane Doe]

      or [RA#1] by telephone, mail, or email, internet, in-person or through another person and

      remain at least 150 feet away from [Jane Doe] and [RA#1] at all times. If you find you are

      enrolled in the same courses as [Jane Doe] or [RA#1], you are to contact the Office of

      Ethics and Student Conflict Resolution immediately . . . .” Exhibit A, ¶5 (authenticating

      Exhibit 4 from which John Doe’s names have been redacted).

32.   After discussing the issues detailed in the preceding paragraph, Dean Curme turned off the

      recording device being used to audiotape the conversation. Dean Curme’s eyes then

      became watery while he told John Doe how Dean Curme believed an unfortunate

      misunderstanding occurred between John Doe and Jane Doe. Dean Curme also stated he

      hoped John Doe would continue his education at Miami and that if he chose to leave Miami

      it would be Miami’s loss.

33.   John Doe repeatedly requested Miami provide him a copy of the audio recording of his

      September 17, 2014 conversation with Dean Curme, but Miami failed to provide John Doe

      a copy of this audio recording. In withholding this audio recording, Miami and/or State

      Defendants violated John Doe’s due process rights and/or rights under Title IX.

34.   On or about September 19, 2014, John Doe met with Miami’s Emergency Case Manager

      Tim Parsons (“CM Parsons”) who told John Doe that disciplinary proceedings would likely

      begin immediately and that CM Parsons would answer John Doe’s questions about the

      proceedings.

35.   On or about September 22, 2014, John Doe again met with CM Parsons to find out what

      was going on because nobody had contacted John Doe. CM Parsons stated it was very



                                                                                              8
 Case: 1:15-cv-00605-MRB Doc #: 39 Filed: 01/26/16 Page: 9 of 56 PAGEID #: 1981




      unusual that John Doe had not been contacted and that it was possible Miami would decide

      not to subject him to disciplinary proceedings.

36.   Between September 17, 2014 and September 23, 2014, John Doe experienced depression,

      anxiety, and isolation after fellow students began talking about how he allegedly sexually

      assaulted Jane Doe. As a result, John Doe stopped going to classes, did not eat for several

      days, when he did eat, he ate most meals alone at locations across campus. John Doe also

      isolated himself from others and began spending time alone in a cemetery near Miami’s

      campus.

37.   Because of the psychological and emotional trauma John Doe suffered, he filed a Medical

      Leave of Absence request with Miami based on treatment provided between September 17,

      2014 and September 23, 2014 by Dr. Jennifer Young a licensed psychologist Ph.D. John

      Doe continues to receive treatment for psychological and emotional trauma related to

      Defendants’ conduct in his home state of Connecticut.

38.   Exhibit 5 details how Dean Curme granted John Doe’s Medical Leave of Absence at 4:15

      pm on September 24, 2014. This Medical Leave of Absence took effect on September 23,

      2014 pursuant to Miami policies. Exhibit A, ¶6 (authenticating Exhibit 5 from which John

      Doe’s names have been redacted).

39.   At 5:10 pm on September 23, 2014, John Doe received a “Notice of Alleged Violation”

      from (“Director Vaughn”). This notice –contained in Exhibit 6 - informed John Doe that

      Miami might impose “sanctions” against him if he failed to appear at a “Procedural

      Review” less than 24 hours later on September 24, 2014. Exhibit A, ¶7 (authenticating

      Exhibit 6 from which John Doe’s names have been redacted).




                                                                                               9
 Case: 1:15-cv-00605-MRB Doc #: 39 Filed: 01/26/16 Page: 10 of 56 PAGEID #: 1982




40.   The Notice of Alleged Violation in Exhibit 6 alleged John Doe violated the “sexual assault”

      prohibitions in Miami’s Student Conduct Regulation §103. The notice described this

      violation as follows: “. . . on September 14, 2014 it is alleged that you sexually assaulted

      a female resident while both of you were intoxicated.” Id. (emphasis added).

41.   The Notice of Alleged Violation in Exhibit 6 did not advise John Doe of his right to have

      an attorney present at the Procedural Review. Id. In so doing, Miami and/or State

      Defendants violated John Doe’s due process rights and/or rights under Title IX.

42.   When John Doe appeared at the September 24, 2014 Procedural Review, he received the

      form in Exhibit 7 which stated that if he accepted “responsib[ility]” for sexually assaulting

      Jane Doe that he would, among other things, be “suspended from Miami [] from

      September 24, 2014 to May 1, 2015.” See generally, Exhibit A, ¶8 (authenticating Exhibit

      7 from which John Doe’s names have been redacted).

43.   Instead of accepting responsibility, John Doe: (a) denied he violated Miami’s Student

      Conduct Regulation §103; and (b) requested the charges against him be adjudicated by an

      Administrative Hearing Panel. Id.

44.   The charge lodged against John Doe - an alleged violation of Miami’s Student Conduct

      Regulation §103 - is found in §2.1.C of Miami University’s Student Handbook (“MUSH”)

      contained in Exhibit 8. Exhibit A, ¶9 (authenticating Exhibit 8 which contains the 2014-

      15 version of MUSH).

45.   MUSH § 2.1.C.2 states “Miami University also has developed a Title IX Protocol that

      explains how incidents of sexual misconduct are handled.” Id. (emphasis in original).

46.   Miami’s Title IX Protocol - contained in Exhibit 9 - mandates allegations of sexual assault

      be addressed in a “fair and impartial” manner. Exhibit A, ¶10 (authenticating Exhibit 9).



                                                                                                10
 Case: 1:15-cv-00605-MRB Doc #: 39 Filed: 01/26/16 Page: 11 of 56 PAGEID #: 1983




      But, as detailed in this Complaint, Miami and/or State Defendants’ unlawful discipline of

      John Doe was corrupted by gender based bias which resulted in his being denied a “fair

      and impartial” disciplinary proceeding at Miami.

47.   Upon information and belief, Jane Doe initially did not want Miami to subject John Doe to

      disciplinary procedures, but eventually succumbed to pressure by yet to be identified

      Miami employees who convinced Jane Doe to participate in said disciplinary procedures.

      Evidence supporting this allegation includes: (a) Exhibit 10 which contains a document

      Jane Doe signed stating she “did not want the Miami University Police Department to

      pursue a criminal investigation” of John Doe. Exhibit A, ¶11 (authenticating Exhibit 10

      which contains a document Miami produced in response to John Doe’s public records

      request from which Jane Doe’s name has been redacted); and (b)

48.   Upon information and belief, Jane Doe initially did not want Miami to subject John Doe to

      disciplinary procedures, but eventually succumbed to pressure by yet to be identified

      Miami employees who convinced Jane Doe to participate in said disciplinary procedures.

      Evidence supporting this belief includes, but is not limited to, September 24, 2014 text

      messages Jane Doe sent John Doe which stated:

             Jane Doe: “[c]an we please talk”

             Jane Doe: “I don’t care what anyone says. I have to talk to you.” See,
             Exhibit 2.

      Although John Doe wanted to talk to Jane Doe, he did not respond to Jane Doe’s text in

      part because he feared he would be subjected to further discipline by Miami if he did.

49.   Upon information and belief, in order to secure Jane Doe’s cooperation in Miami’s

      prosecution of John Doe, Miami offered Jane Doe “amnesty” for her underage




                                                                                               11
 Case: 1:15-cv-00605-MRB Doc #: 39 Filed: 01/26/16 Page: 12 of 56 PAGEID #: 1984




      consumption of alcohol which is detailed in MUSH §2.1.C.2 which defines a “Limited

      Amnesty” as follows:

            “[w]hile the University does not condone underage drinking or violation of
            other University policies, it considers reporting sexual misconduct to be of
            paramount importance. To encourage reporting and adjudication of sexual
            misconduct, Miami University will extend limited amnesty to a student who
            has been the alleged victim of sexual misconduct. The University will
            generally not seek to hold the student responsible for his/her own violations
            of the law (e.g., underage drinking) or the Code of Student Conduct in
            which he or she may have been involved during the period immediately
            surrounding the sexual misconduct.” Exhibit 8, (emphasis added).

50.   At 3:14 pm on October 1, 2014, Miami presented John Doe with the “Notice of Hearing”

      in Exhibit 11 which gave John Doe less than 43 hours to produce the following: “1. A list

      of witnesses you intend to present to provide information to the Hearing Panel; 2. Any

      supporting documents you want the Hearing Panel to consider including, but not limited

      to, audio recordings, social media messages/postings (Facebook, Twitter, Instagram)

      police reports, photographs, videos, etc.; 3. Any written statements you want the Hearing

      Panel to consider including, but not limited to, statement of the complainant or the accused

      or witness statements.” See, Exhibit A, ¶12 (authenticating Exhibit 11 from which John

      Doe’s name has been redacted). Providing John Doe less than 43 hours to produce these

      documents and/or information violated John Doe’s due process rights and/or rights under

      Title IX.

51.   Although Jane Doe’s Notice of Hearing in Exhibit 12 established October 3, 2014 as the

      deadline for her to submit “written statements” for “the Hearing Panel to consider,” Miami

      engaged in gender bias by allowing Jane Doe’s “written statement” in Exhibit 1 to be

      presented to the Hearing Panel even though Jane Doe did not submit Exhibit 1 to Miami




                                                                                               12
 Case: 1:15-cv-00605-MRB Doc #: 39 Filed: 01/26/16 Page: 13 of 56 PAGEID #: 1985




      until October 6, 2014. Compare, Exhibit 1, with Exhibit A, ¶13 (authenticating Exhibit 12

      from which Jane Doe’s name has been redacted).

52.   Exhibit 11 also violated John Doe’s due process rights and/or rights under Title IX because

      it gave John Doe insufficient time to raise bias concerns regarding the following three

      Miami employees that would sit on his Administrative Hearing Panel (“Hearing Panel”):

      (1) Director Vaughn; (2) Yoder; and (3) Elliot. See, Exhibit 11.

53.   Because of time constraints, John Doe was unable to investigate bias concerns regarding

      Hearing Panel members.

54.   Upon information and belief, Van Grundy-Yoder holds gender biased views against male

      students. Evidence supporting this belief includes Dr. Van Gundy’s research which focuses

      on feminist criminological theory and the implementation of gender-specific policy and

      procedures within the American system of corrections. Van Grundy-Yoder is also an

      affiliate of Womens, Sexuality & Gender Studies (and) authored book entitled Feminist

      Theory, Crime, and Social Justice which has been described as offering “an insightful look

      at the primarily masculine-driven perspective on crime and justice through the lens of

      feminist theory.” Van Grundy-Yoder’ research has also been described as advancing the

      existence of “gender-specific differences in crimes committed by men and women.”

55.   On October 7, 2014 a hearing was conducted in front of the Hearing Panel and this hearing

      was recorded via an audio recorder.

56.   John Doe repeatedly requested Miami provide him a copy of the audio recording of

      October 7, 2014 hearing, but Miami failed to provide John Doe a copy of this audio

      recording. In withholding this audio recording, Miami and/or State Defendants violated

      John Doe’s due process rights and/or rights under Title IX.



                                                                                              13
 Case: 1:15-cv-00605-MRB Doc #: 39 Filed: 01/26/16 Page: 14 of 56 PAGEID #: 1986




57.   Similarly, John Doe’s Due Process rights and/or Title IX rights were violated in part

      because prior to the Hearing, John Doe was not provided the names and/or a summary of

      the testimony of witnesses to be used against him.

58.   John Doe’s Due Process rights and/or Title IX rights were violated in part because Director

      Vaughn served as investigator, prosecutor, and judge of John Doe. For example, John Doe

      was told that the delay in Miami’s charging decision occurred because Director Vaughn

      was responsible for reviewing the evidence and making the charging decision. In addition,

      Director Vaughn dominated John Doe’s hearing with questions and comments designed to

      deflate John Doe’s credibility while inflating Jane Doe’s credibility.

59.   In allowing Director Vaughn to serve as investigator, prosecutor, and judge of John Doe,

      Miami and/or State Defendants violated Due Process concerns issued by U.S. Department

      of Justice’s (“DOJ”) Office in its May 9, 2013 findings in Exhibit 13 which state: “. . . the

      dual role of [a university employee] in investigating [University of Montana] complaints

      and presenting the case on behalf of the University to the University Court creates a

      potential conflict that can deprive . . . an adequate, reliable, and impartial investigation. . .

      [therefore prohibiting] the same official playing these dual roles of investigator and

      ‘prosecutor’ . . . will ensure that individuals who play a role in . . . processing student

      complaints . . . do not have any actual or perceived conflicts of interest in the process.” See

      generally, Exhibit 1, ¶14 (authenticating Exhibit 13 with quoted material located at page

      18).

60.   John Doe’s Due Process rights and/or Title IX rights were violated in part because

      Vaughan’s conduct during the Hearing exhibited gender-bias against males such as John

      Doe. For example, Hearing Panel members and/or Vaughan: (a) asked questions and made



                                                                                                    14
 Case: 1:15-cv-00605-MRB Doc #: 39 Filed: 01/26/16 Page: 15 of 56 PAGEID #: 1987




      comments downplaying facts proving Jane Doe initiated physical contact with John Doe

      when she know or should have known he was incapacitated by alcohol; and/or (b) coaxed

      Jane Doe to provide testimony that reinforced gender biased stereotypes of male students

      such as John Doe wanting to initiate unwanted physical contact with females.

61.   At 5:29 pm on October 7, 2014, Director Vaughn sent John Doe Exhibit 14 which informed

      John Doe that he was: (a) found responsible for violating Miami’s Student Conduct

      Regulation §103; and (b) suspended “from Miami for the fall, winter term and spring term

      . . . [and that he] was eligible to apply for re-enrollment to Miami for classes beginning in

      the Summer of 2015.” Exhibit A, ¶15 (authenticating Exhibit 14 from which John Doe’s

      name has been redacted). Director Vaughn also informed John Doe that if he returned to

      Miami after his suspension he would be placed on “disciplinary probation for one year . . .

      .” Id. Finally, Director Vaughn informed John Doe that he could be subjected to “further

      disciplinary action” if he had “any contact with” Jane Doe. Id.

62.   On October 10, 2014, Hearing Panel member /Director Vaughn sent John Doe the letter in

      Exhibit 15 which stated:

             Based on the evidence and statements presented, the panel found you
             responsible. You stated both you and [Jane Doe] were friends and have
             spent time together in the past. Both of you agreed to go to your residence
             room, where you engaged in consensual kissing and some consensual
             sexual contact. However, at some point, [Jane Doe] indicated she did not
             want you to have oral sex and asked you to stop but the act continued as a
             result, the following sanctions have been imposed.

             . . . . you are suspended from Miami University from October 7, 2014 to
             May 2015. Please note that academic credit earned elsewhere during a
             period of disciplinary suspension will not be accepted in transfer. You are
             to have no presence on any of the Miami University campuses during the
             period of suspension.

             . . . . You are to have no further contact with [Jane Doe] by telephone, email,
             internet, or in person. You are to stay 150 feet away from her at all times.

                                                                                                15
 Case: 1:15-cv-00605-MRB Doc #: 39 Filed: 01/26/16 Page: 16 of 56 PAGEID #: 1988




             . . . you will be placed on disciplinary probation for one year upon your re-
             enrollment at Miami.” Exhibit A, ¶16 (authenticating Exhibit 15 from
             which John Doe and Jane Doe’s names have been redacted).

63.   The Hearing Panel’s decision violated John Doe’s Due Process rights and/or Title IX rights

      in part because the testimony at the hearing proved by the preponderance of the evidence

      that: (a) John Doe had no independent recollection of what occurred between the times

      Jane Doe entered his bed and when he awoke the next morning in part because his excessive

      alcohol consumption caused him to lose consciousness and/or become incapacitated; (b)

      Jane Doe initiated physical contact with John Doe when she knew or should have known

      John Doe lacked the capacity to consent pursuant to Miami’s policies; and (c) Jane Doe

      admitted initiating physical contact with John when she was neither intoxicated nor

      incapacitated.

64.   At all times relevant to this Complaint, John Doe and Jane Doe were similarly situated in

      part because they were both students at Miami who consumed alcohol prior to engaging in

      physical contact with another student who consumed alcohol.

65.   If Miami and/or State Defendants applied Miami’s policies and procedures in a gender

      neutral manner, both Jane Doe and John Doe should have received the same discipline.

      Therefore, Miami and State Defendants’ discipline of John Doe evidences gender-bias in

      part because Miami never disciplined Jane Doe while suspending John Doe.

66.   The Hearing Panel’s decision violated John Doe’s Due Process rights and/or Title IX in

      part because of Director Vaughn’s gender biased behavior at the Hearing which included,

      but was not limited to: (a) Director Vaughn’s allegation that John Doe regularly engages

      in the sexual assault of women via her accusation that “I’ll bet you do this all the time;"

      and (b) Director Vaughn’s body language suggesting she believed John Doe was lying


                                                                                              16
 Case: 1:15-cv-00605-MRB Doc #: 39 Filed: 01/26/16 Page: 17 of 56 PAGEID #: 1989




      when he responded that he had not engaged in this type of activity previously and that he

      had only had one serious girlfriend previously.

67.   Director Vaughn’s conduct in the Hearing proves the gender neutral statements in Miami’s

      sexual assault policies and/or training materials are a pretext for allowing discrimination

      against male students like John Doe. Evidence in support of this allegation exists in the

      contradiction between Director Vaughn’s conduct in the Hearing and Exhibit 16 which

      contains her 2014 Sexual Assault training PowerPoint presentation stating hearings afford

      the “right to a fair and impartial panel that will presume the accused is not responsible until

      all information has been considered.” Exhibit A, ¶17 (authenticating Exhibit 16 produced

      pursuant to John Doe's public records request and contain the referenced information on

      pages 45 and 47).

68.   The Hearing Panel’s decision violated John Doe’s Due Process rights and/or Title IX in

      part because the preponderance of evidence proved he did not violate Miami’s policies.

      For example, the Hearing Panel’s decision was based on contradictory testimony regarding

      oral sex. On one hand, Jane Doe’s written statement in Exhibit 1 maintained the following

      regarding oral sex: “I never said no. I pushed him away. He rolled over and went to sleep.”

      Exhibit 1.   Yet, in Exhibit 17, the Hearing Panel identified its rationale for finding John

      Doe responsible for engaging in nonconsensual oral sex as follows: “[Jane Doe] indicated

      she did not want to engage in oral sex, said no, and stated the act continued.” Exhibit A,

      ¶18 (authenticating Exhibit 17 from which John Doe and Jane Doe’s names have been

      redacted).

69.   On or about October 13, 2014, John Doe exercised his rights under MUSH to appeal the

      Hearing Panel’s findings and sanctions by presenting Exhibit 18 to Miami’s Appeal Board.



                                                                                                  17
 Case: 1:15-cv-00605-MRB Doc #: 39 Filed: 01/26/16 Page: 18 of 56 PAGEID #: 1990




      Exhibit A, ¶19 (authenticating Exhibit 18 from which John Doe and Jane Doe’s names have

      been redacted). John Doe’s appeal disclosed anti-male gender bias on the part of Hearing

      Panel. This bias included, but was not limited to, the following statements from John Doe’s

      appeal:


                . . . . . despite the fact that the evidence does not support the charges or the
                sanction imposed by the University, representatives of the University
                persisted in using the University’s policy to inflict emotional harm and other
                harm on me:

                       The record clearly shows that I was intoxicated, had no recollection
                        of what occurred and was myself unable to consent to sexual
                        contact pursuant to the University’s own policy – nevertheless, the
                        young woman in question was not charged with sexual assault;

                       The Panel blatantly led the alleged victim at the hearing in an
                        attempt to corroborate the charges against me;

                       I have repeatedly requested audio tapes in my file and from the
                        hearing, which have not been made available to me, to date;

                       This process has caused me great emotional distress and anxiety, as
                        a result of which I requested a medical leave of absence on
                        September 23, 2014 and I left campus to return home to
                        Connecticut.” Id. (emphasis added).

70.   John Doe’s reference in Exhibit 18 to “[t]he Panel blatantly [leading] the alleged victim at

      the hearing,” includes, but is not limited to, Hearing Panel members and/or Vaughan

      coercing Jane Doe to provide testimony that reinforced anti-male gender biased stereotypes

      of male students initiating unwanted physical contact with females. In engaging in this

      type of conduct, the Hearing Panel members and/or Vaughan violated John Doe’s due

      process rights and/or rights under Title IX.

71.   On October 31, 2014, Miami sent Exhibit 19 to John Doe which noted a “Judicial Hold”

      had been lodged against him and stated: “[a] disciplinary hold has been placed on your


                                                                                                   18
 Case: 1:15-cv-00605-MRB Doc #: 39 Filed: 01/26/16 Page: 19 of 56 PAGEID #: 1991




      ability to register. Holds are placed most frequently for failure to complete a University

      sanction. A disciplinary hold will not permit a student to register for a subsequent semester

      or change a current class schedule . . . You were required to complete a sanction because

      of a case of NON-ACADEMIC MISCONDUCT . . . .” Exhibit A, ¶20 (authenticating

      Exhibit 19 from which John Doe and Jane Doe’s names have been redacted).

72.   The “Judicial Hold” addressed in Exhibit 19 violated MUSH which states in pertinent part

      that: “No sanction will be imposed until all appeals are completed.” Exhibit 8, p.42

      (bold in original). This “Judicial Hold” violated John Doe’s due process rights and/or

      rights under Title IX.

73.   On November 11, 2014, Ward sent Exhibit 20 to John Doe which rejected his appeal

      without specifically addressing John Doe’s factual basis for challenging the Hearing

      Panel’s findings and sanctions on the basis of gender bias. Exhibit A, ¶21 (authenticating

      Exhibit 20 from which John Doe and Jane Doe’s names have been redacted).

74.   Ward’s rejection John Doe’s appeal was based on gender bias in part because Ward knew

      or should have known Jane Doe violated Miami’s policies by initiating physical contact

      with John Doe when he was incapacitated. Ward possessed this knowledge in part because

      her research examines: (a) facets of college student alcohol consumption; (b) alcohol-

      related blackouts; and (c) how friendships relate to alcohol consumption and alcohol-

      related outcomes. In addition, Ward’s research focuses on student alcohol consumption

      and sexual assault from the perspective of protecting females from males.

75.   On or about November 14, 2014, John Doe exercised his rights under MUSH to appeal the

      Appeals Board decision to (“VP Brownell”) by providing Exhibit 21 to VP Brownell.

      Exhibit A, ¶22 (authenticating Exhibit 21 from which John Doe and Jane Doe’s names are



                                                                                                19
 Case: 1:15-cv-00605-MRB Doc #: 39 Filed: 01/26/16 Page: 20 of 56 PAGEID #: 1992




      redacted). John Doe’s appeal disclosed gender bias on the part of Hearing Panel and the

      Appeal Board’s refusal to address these issues. Id. For example, John Doe reiterated the

      bias he suffered by noting, among other things, the following:

             . . . No doubt you are aware of the growing body of evidence that suggests
             that the Title IX protocol, as carried out by Miami and other universities, is
             overreaching and unconstitutional. An opinion piece in the October 15,
             2014 edition of the Boston Globe, titled “Rethinking Harvard’s Sexual
             Harassment Policy” noted that the procedures adopted by Harvard for
             “deciding cases of sexual misconduct lack the most basic elements of
             fairness and due process, are overwhelmingly stacked against the accused,
             and are in no way required by Title IX law or regulation.” Also, notably,
             Brett Sokolow, Executive Director of the Association of Title IX
             Administrators (“ATIXA”), in the ATIXA Tip of the Week Newsletter
             dated April 24, 2014 expressed grave concern about overzealous
             prosecution of Title IX violations on college campuses. In my case . . . the
             University has gone far beyond the original intent of Title IX and has
             ignored the evidence in order to bolster its Title IX record . . . to my great
             detriment. Id.


76.   ATIXA’s Tip of the Week discussed in the preceding paragraph – and contained in Exhibit

      22 - explains how five colleges “got it completely wrong” in finding male students

      responsible for “hook-ups” when alcohol was involved. Exhibit A, ¶23 (authenticating

      Exhibit 22). ATIXA expressed concerns that these colleges are making “Title IX

      Plaintiffs” of the students who were wrongly accused. And, ATIXA noted:

             “A common policy problem comes from failing to distinguish between
             intoxicated and incapacitated. Yet, the most serious issue comes from
             failing to implement a mens rea, if you will, within the definition. Certainly,
             criminal concepts like mens rea are not strictly applicable to the campus
             conduct process, but if we agree as I stated above that having sex with a
             willing, yet intoxicated person is not an offense, there must be something
             that the respondent does, beyond having sex, that makes a lawful act (sex)
             into a policy violation . . . there has to be something more than an intent
             to have sex to make this an offense. Otherwise, men are simply being
             punished for having sex, which is gender discrimination under Title IX,
             because their partners are having sex too and are not being subject to the
             code of conduct for doing so. Without a knowledge standard, a respondent



                                                                                               20
 Case: 1:15-cv-00605-MRB Doc #: 39 Filed: 01/26/16 Page: 21 of 56 PAGEID #: 1993




             will suffer an arbitrary and capricious application of the college’s rules.”
             Id. (emphasis added).

77.   VP Brownell ignored ATIXA’s Tip of the Week when she sent Exhibit 23 to John Doe

      which slightly reduced John Doe’s sanctions while not addressing John Doe’s factual basis

      for challenging either: (a) the Hearing Panel’s findings and sanctions; or (b) the Appeal

      Board’s decision. Exhibit A, ¶24 (authenticating Exhibit 23 from which John Doe and Jane

      Doe’s names are redacted).

78.   On January 19, 2015, John Doe sent Exhibit 24 to VP Brownell detailing, among other

      things, how VP Brownell failed to remedy the gender bias John Doe suffered at the hands

      of Miami employees. Exhibit A, ¶25 (authenticating Exhibit 24 from which John Doe and

      Jane Doe’s names are redacted). For example, John Doe wrote:

             “your letter fails to respond to the fact that, pursuant to the University’s own
             policy I was unable to consent to sexual contact, and yet the young woman
             in question was not charged with sexual assault. It would seem, then, that
             the University’s policies are not invoked for the protection of all students,
             after all.” . . . The manner in which this disciplinary process was conducted
             . . . is particularly devastating when the University is willing to very
             publically accept large donations from high profile alumni who have a
             known history of sexual assault.” Id.

79.   Upon information and belief, Miami and/or VP Brownell’s failure to remedy the gender

      bias John Doe suffered at the hands of Miami employees was caused in part by anti-male

      publicity related to the November 2014 Rolling Stone article entitled “A Rape on Campus:

      A Brutal Assault and Struggle for Justice at UVA,” which described the now-debunked tale

      of a female student who alleged she was a victim of gang rape at the University of Virginia.

      See generally, Exhibit 1, ¶26 (authenticating Exhibit 25 which contains Rolling Stone’s

      retraction of its article entitled A Rape on Campus: A Brutal Assault and Struggle for

      Justice at UVA).


                                                                                                21
 Case: 1:15-cv-00605-MRB Doc #: 39 Filed: 01/26/16 Page: 22 of 56 PAGEID #: 1994




80.   Miami and/or State Defendants violated John Doe’s Due Process rights and/or rights under

      Title IX in part because it applied MUSH § 2.1.C.1 in a gender biased fashion. MUSH §

      2.1.C.1 defines: “Sexual Misconduct” as: “[a]ny sexual conduct directed against another

      person, forcibly and/or against that person's will; or where the victim is incapable of giving

      consent.” Even though Miami and/or State Defendants knew or should have known Jane

      Doe violated this prohibition by initiating physical contact with John Doe when he was

      incapable of giving consent, neither Miami nor State Defendants disciplined Jane Doe.

      Instead, Miami and/or State Defendants unlawfully chose to prosecute the male victim of

      Jane Doe’s sexual misconduct.

81.   Miami and/or State Defendants violated John Doe’s Due Process rights and/or rights under

      Title IX in part because they applied another portion of MUSH § 2.1.C.1 in a gender biased

      fashion. MUSH § 2.1.C.1 notes: “[a]n individual cannot consent who is substantially

      impaired by any drug or intoxicant . . . .” Even though Miami and/or State Defendants

      knew or should have known that under MUSH § 2.1.C.1 John Doe was incapable of

      consenting to the physical contact initiated by Jane Doe, neither Miami nor State

      Defendants disciplined Jane Doe. Instead, Miami and/or State Defendants unlawfully

      chose to prosecute the male victim of Jane Doe’s sexual misconduct.

82.   Miami and/or State Defendants violated John Doe’s Due Process rights and/or rights under

      Title IX in part because they applied another portion of MUSH § 2.1.C.1 in a gender biased

      fashion. MUSH § 2.1.C.1 states: there is no consent if “ . . . . [t]he victim’s ability to

      judge the nature of or control their own conduct is substantially impaired . . . .” Even

      though Miami and/or State Defendants knew or should have known that under MUSH §

      2.1.C.1 John Doe was incapable of consenting to the physical contact initiated by Jane Doe,



                                                                                                 22
    Case: 1:15-cv-00605-MRB Doc #: 39 Filed: 01/26/16 Page: 23 of 56 PAGEID #: 1995




         neither Miami nor State Defendants disciplined Jane Doe. Instead, Miami and/or State

         Defendants chose to unlawfully prosecute the male victim of Jane Doe’s sexual

         misconduct.

83.      Since the evidence presented proved Jane Doe initiated physical contact with John Doe

         when she knew or should have known John Doe lacked the capacity to consent, Miami

         and/or State Defendants’ discipline of John Doe evidences a gender-biased application of

         Miami’s alcohol consumption policy. This policy was described by Miami’s Office of

         Equity and Equal Opportunity’s (“OEEO”) Asso. Director Tandy Hamm (“Hamm”) who

         stated: if a student consumes one alcoholic beverage there is no way to give true consent

         to physical contact with another student. (“Miami’s One Drink Policy”).

84.      Upon information and belief, Miami and/or State Defendants applied Miami’s One Drink

         Policy in gender biased fashion which violated John Doe’s Due Process and/or Title IX

         rights.   Evidence of this violation includes, but is not limited to the complaint filed by

         Miami student Matthew Sahm (“Sahm’s Amended Complaint”) which alleged Miami’s

         gender-biased application of its alcohol policy contributed to Sahm being wrongly found

         responsible for violating Miami’s prohibitions against sexual misconduct. See generally,

         Exhibit 1, ¶27-29 (authenticating Exhibits 26-28 which contain Dockets 15, 20, and 20-1

         from Sahm v. Miami University, United States District Court For The Southern District of

         Ohio, Western Division, Case No. 1:14-cv-698).2




2
  It should be noted this Court ultimately dismissed Sahm’s complaint. Exhibit A, ¶30
(authenticating Exhibit 29 which contains Docket 21 from Sahm v. Miami University, United States
District Court For The Southern District of Ohio, Western Division, Case No. 1:14-cv-698 ). But,
unlike the facts detailed in this Complaint, Sahm’s complaint did not allege a “pattern of biased
decision making by” Miami. Id., Page.Id.294.


                                                                                                 23
 Case: 1:15-cv-00605-MRB Doc #: 39 Filed: 01/26/16 Page: 24 of 56 PAGEID #: 1996




85.   Evidence of gender bias at Miami includes, but is not limited, the information detailed in

      the affidavit of Attorney Timothy J. Meloy which states:

             “Since 2013, I have represented numerous male Miami students who have
             been alleged to have violated Miami’s policies and/or procedures regarding
             sexual misconduct with regard to their interactions with female Miami
             students. In at least one of these cases, the male student alleged the female
             complainant violated Miami’s policies and/or procedures by initiating
             physical contact with the male student when the he was unable to consent
             because of his level of intoxication. In this case, Miami: (a) found the male
             student violated Miami’s policies and/or procedures regarding sexual
             misconduct; and (b) to the best of my knowledge, neither investigated nor
             disciplined the female complainant for violating Miami’s policies and/or
             procedures regarding sexual misconduct. The male student I reference in
             this paragraph is not the Plaintiff in this lawsuit.

             Since 2013, I am aware of approximately 12 male Miami students that have
             been subjected to disciplinary procedures for allegedly violating Miami’s
             policies and/or procedures regarding sexual misconduct with regard to
             interactions with female Miami students. I am not personally aware of any
             situation where Miami alleged a female Miami student violated Miami’s
             policies and/or procedures regarding sexual misconduct with regard to her
             interactions with a male Miami student.

             Based on my repeated encounters and interactions with Miami employees
             involved in disciplinary procedures, I believe these Miami employees
             impose a presumption of guilt on male students accused of sexual
             misconduct (and) that this presumption is based in part on: (a) the
             employees’ gender biased stereotypical beliefs regarding sexual
             interactions between male and female students; and/or (b) pressure from the
             federal government and/or other organizations that appear interested in
             increasing the number of male students that Miami finds responsible for
             sexual misconduct even if the males’ did not engage in misconduct.”
             Exhibit B, ¶¶3-4.

86.   Upon information and belief, Miami and/or State Defendants’ violations of John Doe’s

      Due Process rights and/or rights under Title IX occurred in part because of threats by the

      federal government that Miami could lose federal funding or face other adverse

      consequences if Miami did not find male students like John Doe responsible for sexually

      assaulting female students. Evidence of this pressure includes, but is not limited to, Exhibit


                                                                                                 24
 Case: 1:15-cv-00605-MRB Doc #: 39 Filed: 01/26/16 Page: 25 of 56 PAGEID #: 1997




      30 which contains The White House’s April 2014 report entitled “Not Alone” which

      includes: (a) references to Vice President Biden’s “new Public Service Announcement”

      which encourages schools to combat the sexual assault of women on campuses; and (b)

      warnings that if colleges like Miami do not adhere to Title IX they “risk[] losing federal

      funds” and/or face potential lawsuits filed by DOJ.    Exhibit A, ¶31 (authenticating Exhibit

      30 containing The First Report of the White House Task Force To Protect Students From

      Sexual Assault which was produced pursuant to John Doe's public records request to Miami

      and contains the quoted material on pages 5 and 22).

87.   Similar federal mandates to aggressively discipline males (or) face the potential loss of

      federal funds are found in Exhibit 31 which contains The White House Counsel on Women

      and Girls’ January 2014 publication entitled Rape and Sexual Assault: A Renewed Call to

      Action. Exhibit A, ¶32 (authenticating Exhibit 31 which was produced pursuant to John

      Doe's public records request to Miami).

88.   In addition, Exhibit 32 contains Title IX training that Miami employees received in

      September 2014 which detailed how federal officials disciplined universities for not

      exhibiting enough vigor in disciplining students alleged to have engaged in sexual

      misconduct. Exhibit A, ¶33 (authenticating Exhibit 32 produced in response to John Doe’s

      public records request which contains the cited material on pages 49-54).      For example,

      this training warned that ODJ demanded universities “[e]nsure victim-centered practices

      in sexual assault response, investigations, and interviews.” Id., p.51 (emphasis added).

89.   Upon information and belief, in response to federal pressure Miami started providing

      “[e]ducation and prevention programming informing the community about the risks and

      myths which contribute to violence. Exhibit 10, p.2. The programing Miami provided in



                                                                                                 25
 Case: 1:15-cv-00605-MRB Doc #: 39 Filed: 01/26/16 Page: 26 of 56 PAGEID #: 1998




      2014 to identify these risks included a gender biased documentary entitled “Bro Code”

      which Exhibit 33 states is a “documentary about rape culture . . . . and [h]ow Contemporary

      Culture Creates Sexist Men.” Exhibit A, ¶34 (authenticating Exhibit 33 containing Student

      Affairs Counsel’s February 20, 2013 Minutes produced pursuant to John Doe's public

      records request which contain quoted material on page 2)(emphasis added).

90.   Miami engaged in other examples of the gender biased stereotyping encouraged by federal

      authorities. For instance, Exhibit 34 details how: “Miami join[ed] the national awareness

      initiative, ‘It's On Us’” campaign.    Exhibit A, ¶35 (authenticating Exhibit 34). This

      initiative - launched by President Obama and detailed in Exhibit 35 - was created in part

      to address the assertion that: “[a]n estimated one in five women has been sexually assaulted

      during her college years." Exhibit A, ¶36 (authenticating Exhibit 35).

91.   Similarly, Exhibit 30 contains The White House’ April 2014 report entitled “Not Alone”

      which also asserts: “[o]ne in five women is sexually assaulted in college.” Exhibit 30, p.5.

92.   Exhibit 36 details how Miami’s Sexual Assault Training for 2013 includes the assentation

      that 25% of college aged women reported surviving rape or attempted rape. Exhibit A,

      ¶37 (authenticating Exhibit 36 produced pursuant to John Doe's public records request and

      containing referenced material on page 7).

93.   Emily Yolffe’s article in Slate – contained in Exhibit 37 – discusses President Obama’s

      and Miami’s assertion that one in five women are sexually assaulted during their college

      years. Exhibit A, ¶38 (authenticating Exhibit 37 with referenced material at page 4. Ms.

      Yolffe interviewed the lead author of the study often quoted as the source of the one and

      five statistic. Specifically, Ms. Yolffe asked the author - Christopher Krebs - whether the

      study represented the experience of the approximately 12 million female students in



                                                                                               26
 Case: 1:15-cv-00605-MRB Doc #: 39 Filed: 01/26/16 Page: 27 of 56 PAGEID #: 1999




      America. Id., p.14. Mr. Krebs stated those involved in the study, “don’t think one in five

      is a nationally representative statistic.” Id. This was because Mr. Kreb stated his team’s

      sampling of only two schools “[i]n no way . . .           make[s] our results nationally

      representative.” Id.    Ms. Yolffe noted that if the “one-fifth to one-quarter assertion

      [regarding sexual assaults on college campuses were accurate that] would mean that young

      American college women are raped at a rate similar to women in Congo, where rape has

      been used as a weapon of war.” Id.

94.   Nevertheless, Miami has repeated relied on questionable statistics to create a hostile

      environment for male students like John Doe. For instance, Exhibit 38 contains the Final

      Report of the Task For The Prevention of Sexual Assault chaired by Miami’s Interim

      Director of OEEO and Title IX Coordinator, Kenya Ash (“Ash”) which states:

             “National statistics continue to point to the widespread prevalence of sexual
             assault on college campuses. The prevalence of rape among college women
             is 20% (Karjane et. al., 2002). Extrapolating national statistics to Miami,
             it can be predicted that as many as eight to nine women per week may be
             victims of sexual assault.” Exhibit A, ¶39 (authenticating Exhibit 38 which
             contains the quoted material at p.5)(emphasis added)

95.   Similarly, Miami’s 2012 “Facts At A Glance” publication contained in Exhibit 39 states:

      “[i]n a study of undergraduate women, 19% experienced attempted or completed sexual

      assault since entering college.” Exhibit A, ¶40 (authenticating Exhibit 39).

96.   Miami’s Acquaintance Rape Resource Guide in Exhibit 40 cites a “2000 U.S. Department

      of Justice study” for the proposition that “280 rapes or attempted rapes each academic year”

      are expected “[o]n a campus of 10,000 women.” Exhibit A, ¶41 (authenticating Exhibit 40

      quoted material contained on page 1).

97.   Exhibit 41 contains Miami’s Title IX Education & Awareness Program from 2014

      estimates between “1,600-2,000 women on the Oxford campus” are victims of sexual

                                                                                               27
 Case: 1:15-cv-00605-MRB Doc #: 39 Filed: 01/26/16 Page: 28 of 56 PAGEID #: 2000




       misconduct a year. Exhibit A, ¶42 (authenticating Exhibit 41 produced pursuant to John

       Doe's public records request which contains the quoted material at page 7).

98.    Miami’s aforementioned assertions regarding the number of female Miami students being

       sexually assaulted evidences a hostile environment to males such as John Doe. Evidence

       supporting this fact includes, but is not limited to, Exhibit 42 which proves that from 2011-

       2014 Miami disciplined only 19 students for alleged sexual misconduct prohibited by

       Miami’s Student Conduct Regulation §103. See, Exhibit A, ¶43 (authenticating Exhibit

       42 which contains a redacted copy of a document produced by Miami in response to John

       Doe’s public records request which identifies students found responsible for §103A

       violation).

99.    Upon information and belief, approximately 14,000 – 16,000 students were enrolled at

       Miami during each of the 2011-2014 academic years. Therefore, Miami’s aforementioned

       allegations of likely sexual assaults on Miami’s campus is greatly exaggerated and creates

       a gender biased environment that caused Miami and/or State Defendants to unlawfully

       discipline John Doe.

100.   Upon information and belief, Miami and/or State Defendants subjected John Doe to

       unlawful gender biased discipline in part to avoid bad press, an OCR complaint and/or

       litigation from female student(s) alleging Miami was not properly disciplining male

       students alleged to have engaged in sexual assaults. Evidence in support of this allegation

       includes the November 2013 press releases in Exhibit 43 about the lawsuit in Exhibit 44.

       Exhibit A, ¶44-45 (authenticating Exhibits 43 and 44 which contain said lawsuit and three

       press articles regarding same). These two exhibits discuss a lawsuit filed against Miami

       by a female student who alleged her sexual assault could have been avoided if Miami had



                                                                                                 28
 Case: 1:15-cv-00605-MRB Doc #: 39 Filed: 01/26/16 Page: 29 of 56 PAGEID #: 2001




       expelled the alleged attacker for prior misconduct. Id. The lawsuit also contains a January

       30, 2013 email from Miami President David Hodges (“President Hodges”) to the female

       students’ father which articulated the steps Miami had taken – and will take – to increase

       its prosecution of sexual misconduct. Exhibit 44, p.38. President Hodges’ email implicitly

       evidences Miami’s intent to more severely discipline male students alleged to have

       sexually assaulted female students.

101.   John Doe’s Due Process and/or Title IX rights were violated in part because Miami and/or

       State Defendants failed to adhere to Miami’s policies for Title IX investigations which

       according to Exhibit 45:

               “. . . typically [are] conducted by a staff member from the Office of Equity
              and Equal Opportunity. The investigation would involve interviewing the
              survivor, witnesses and the accused and obtaining copies of the survivor’s
              statement, witness statements, the police report, and any other relevant
              documentation. At the conclusion of the investigation, the investigator will
              make a determination, based on the preponderance of the evidence, whether
              there is reasonable cause to believe Miami’s Policy Prohibiting Harassment
              and Discrimination has been violated. Upon a reasonable cause finding, the
              investigator will send the report to OESCR for appropriate disciplinary
              action. The investigator may be called as a witness to the hearing.” Exhibit
              A, ¶46 (authenticating Exhibit 45 containing Ash’s notes from August 12,
              2014 presentation of Miami’s “[o]bligations to OESCR hearing officer”
              produced in response to John Doe’s public records request with quoted
              material located on page 3).

102.   While Miami has provided male students charged with sexual misconduct with full access

       to the OEEO investigation file detailed in the preceding paragraph, neither Miami nor State

       Defendants provided John Doe with any investigator’s report or documents contained in

       the OEEO’s file. In withholding these documents, Miami and State Defendants violated

       John Doe’s Due Process rights, Title IX, and/or the following MUSH provisions: (a)

       MUSH §5.14.L which states, “[a]fter the OEEO report is issued . . . the accused [is]

       permitted to review the OEEO investigation file”; (b) MUSH §5.14.Q which states students

                                                                                               29
 Case: 1:15-cv-00605-MRB Doc #: 39 Filed: 01/26/16 Page: 30 of 56 PAGEID #: 2002




       charged with sexual misconduct must be given: “full access to the OEEO investigation file

       . . . .”; and (c) MUSH § 5.14.O which contemplates “transparent” disciplinary proceedings

       whereby students are given “timely access to . . . any information that will be used . . .

       during informal and formal disciplinary meetings and hearings.”

103.   Miami and/or State Defendants’ actions evidence gender bias in part because these actions

       refused to deem Jane Doe the aggressor who initiated sexual conduct with John Doe.

       Academic research conducted by University of Missouri Professor Dr. Bryana H. French

       in Exhibit 46 addresses females acting as aggressors of sexual conduct. Exhibit A, ¶47

       (authenticating Exhibit 46 which contains Bryana H. French, Jasmine D. Tilghman,

       Dominique A. Malebrahche’s article Sexual Coercion Context and Psychosocial

       Correlates Among Diverse Males from the Journal of Psychology of Men and Masculinity,

       2015 Vol.16, No., 1 42-43). Dr. French’s research is addressed in also addressed in Exhibit

       47 which contains the article Can Boys Be ‘Coerced Into Sex which reports: “43 percent

       of high school boys and young college men . . . reported they had an unwanted sexual

       experience and of those, 95 percent said a female acquaintance was the aggressor.’”

       Exhibit A, ¶48 (authenticating Exhibit 47 which contains Lizzie Crocker’s article Can Boys

       Be ‘Coerced Into Sex from March 28, 2014 edition of The Daily Beast). The article also

       quotes clinical psychologist Dr. Greenberg who stated: “I really do believe that girls are

       more aggressive sexually today than they were ten years ago, and I haven’t seen the same

       trend in boys. I think it has a lot to do with the hook-up culture where there’s this

       permission to get involved physically without getting involved emotionally. Boys were

       always expected to be the sexual initiators, and now girls are doing the initiating.’” Id.




                                                                                                    30
 Case: 1:15-cv-00605-MRB Doc #: 39 Filed: 01/26/16 Page: 31 of 56 PAGEID #: 2003




104.   Nevertheless, upon information and belief, Miami engages in a pattern and practice of

       disciplining males when female students initiate physical contact with male students.

       Evidence supporting this belief includes the allegations in Sahm’s Amended Complaint in

       Exhibits 26-28 (containing Sahm’s Amended Complaint and related exhibits). In addition,

       according to Exhibit 42, almost 90% of the Miami students disciplined for engaging in

       sexual misconduct between 2011 and 2014 had male first names.             See, Exhibit 42

       (containing document produced by Miami in response to John Doe’s public records request

       which identifies students found responsible for §103A violation – with the last names of

       these students redacted).

105.   Instead of evaluating sexual misconduct allegations from a gender neutral vantage point,

       Miami imposes a pattern and practice of stereotyping male students as sexual aggressors

       who put female students at significant risk of being sexually assaulted. One example of

       this pattern is found in A Brief History of Miami’s Response to Sexual Assault – contained

       in Exhibit 48 – which states:

              “[o]ne of the most highly publicized and troubling issues affecting today’s
              college students, particularly at undergraduate residential institutions like
              Miami, is sexual assault. The expression of this problem is shaped by a
              student culture that encourages heterosexual gender roles of male
              entitlement and conquest, and sends conflicting messages to women
              about the value of appearing sexually attractive/available but being
              sexually inexperienced.” Exhibit A, ¶49, p.1 (authenticating Exhibit
              48)(emphasis added).

106.   In addition, Miami employees and student organizations engage in numerous examples of

       gender biased stereotyping of male students like John Doe which: (a) appear designed to

       demonstrate to OCR, President Obama’s Administration, and/or the public at large that

       Miami is taking aggressive disciplinary action against males accused of sexual assault;

       and/or (b) resulted in John Doe’s unlawful discipline.

                                                                                              31
 Case: 1:15-cv-00605-MRB Doc #: 39 Filed: 01/26/16 Page: 32 of 56 PAGEID #: 2004




107.   Examples of Miami’s gender biased views include Miami’s mandates that: (a) one “never

       blame the victim” who claims to have been sexually assaulted; and (b) “[m]en and women

       often speak different sexual scripts.” See, Exhibit A, ¶50 (authenticating Exhibit 49 which

       contains quoted material on page 1); Id., ¶51 (authenticating Exhibit 50 which contains

       quoted material on page 2). See also, Id., ¶52-59 (authenticating Exhibits 51-58 which

       contain additional Miami publications which suggest a pattern and/or practice of gender

       bias against male Miami students like John Doe).

108.   Hearing Panel Member /Director Vaughn’s conduct outside the disciplinary process also

       evidences gender bias which violated John Doe’s Due Process and/or Title IX rights. For

       example, only two weeks prior to the alleged assault, Director Vaughn was quoted in the

       Dayton Daily News contained in Exhibit 60. Exhibit A, ¶6 (authenticating Exhibit 59

       containing the Dayton Daily News’ article entitled Local Colleges React to California’s

       Sex Assault Law). In this article, Ms. Vaughn claims Miami’s policies regarding “consent”

       are “essentially” the same and/or “similar” to legislation passed by California’s legislature

       regarding consent to sexual activity. Id.

109.   Director Vaughn’s comment about California’s consent law contradicts Miami’s Affairs

       Counsel’s November 19, 2014 minutes in Exhibit 60 which state “Ohio hasn’t been looking

       into passing” anything like “California and New York’s newly implemented ‘Yes Means

       Yes’” consent legislation. Exhibit A, ¶61 (authenticating Exhibit 60 produced pursuant to

       John Doe's public records request which contains quoted material at page 3).

110.   California’s affirmative “Yes Means Yes” consent law is far more restrictive than Miami’s

       polices regarding “consent.”     See e.g., Exhibit 9, p.11 (containing Miami’s Title IX




                                                                                                 32
 Case: 1:15-cv-00605-MRB Doc #: 39 Filed: 01/26/16 Page: 33 of 56 PAGEID #: 2005




       Protocol’s discussion of consent); Exhibit 8, at MUSH, § 2.1.C.1 (containing MUSH’s

       discussion of consent).

111.   State Defendants and/or Miami applied gender biased stereotyping of male students like

       John Doe which was sufficiently severe or pervasive to create a hostile (or abusive)

       environment in an educational program or activity. This conduct also provides a basis for

       imputing liability to Miami.

112.   The conduct of State Defendants and/or Miami established an unlawfully hostile and/or

       abusive environment at Miami for male students who include, but are not limited to, John

       Doe. See e.g., Jennings v. Univ. of N.C., 482 F.3d 686, 695 (4th Cir. 2007), en banc.

       (establishing the following four elements of a Title IX hostile environment/sexual

       harassment claim: (1) plaintiff was a student at an educational institution receiving federal

       funds, (2) he/she was subjected to harassment based on his/her sex, (3) the harassment was

       sufficiently severe or pervasive to create a hostile (or abusive) environment in an

       educational program or activity, and (4) there is a basis for imputing liability to the

       institution.); Yusuf v. Vassar College, 35 F.3d 709 (2nd Cir. 1994)(rejecting a motion to

       dismiss Title IX claim filed by a male student alleging he was falsely accused of sexual

       assault in part because “. . . . statements by pertinent university officials, or patterns of

       decision-making that . . . tend to show the influence of gender.”); Zamora v. Jane Doe v.

       Erskine Coll., 2006 U.S. Dist. LEXIS 35780, *32-38 (Greenwood Div., N.C. May 25,

       2006)(rejecting a motion for summary judgment in a Title IX claim where “a jury issue”

       was created with regards to “whether [the college] was deliberately indifferent” to Title IX

       discrimination); Doe v. Bd. of Educ., 982 F. Supp. 2d 641, 652 (D. Md. 2012)(stating

       “severe or pervasive” harm can occur when Title IX plaintiff suffers “humiliat[ion] . . .



                                                                                                 33
 Case: 1:15-cv-00605-MRB Doc #: 39 Filed: 01/26/16 Page: 34 of 56 PAGEID #: 2006




       serious anxiety, fear, or discomfort . . . .”)(citations omitted); Wells v. Xavier Univ., 7 F.

       Supp. 3d 746 (S.D. Ohio 2014)(rejecting a motion to dismiss Title IX claim filed by a male

       student alleging he was falsely accused of sexual assault).

113.   Miami and/or State Defendants engaged in deliberate indifference in refusing to implement

       corrective measures to address John Doe’s unlawful discipline detailed above.

114.   The conduct of State Defendants, and/or Miami created an unlawfully hostile and/or

       abusive environment for male Miami students like John Doe in part because this conduct

       is similar to that addressed by legal scholars documenting bias against male students

       accused of sexual misconduct on college campuses. See e.g., Barclay Sutton Hendrix, A

       Feather On One Side, A Brick On The Other: Tilting The Scale Against Males Accused of

       Sexual Assault In Campus Disciplinary Proceedings, 47 Ga. L. Rev. 591, 594-599 (2013);

       Stephen Henrick, A Hostile Environment for Student Defendants: Title IX and Sexual

       Assault on College Campuses, 40 N. Ky. L. Rev. 49, 50-52 (2013).

115.   In response to pressure from DOE, DOJ, and/or the White House, educational institutions

       like Miami are being counseled to severely limit procedural protections afforded male

       students like John Doe in sexual misconduct cases.        For example, Exhibit 61 contains

       ATIXA’s “2014 Whitepaper” entitled Equity Is Such A Lonely Word which states: “victims

       have been historically been accorded 3/5 of the rights of an accused individual (or less),

       and victims are typically women, equity may require institutions to recalibrate the

       pendulum to right the historical imbalance. An equitable process on many campuses will

       force a victim focus, but only as a casualty of history.” Exhibit A, ¶62 (authenticating

       Exhibit 61 with quotation located on page 4)(emphasis added). In advocating for the

       reduction of due process rights for the accused, the ATIXA’s Whitepaper states ORC’s



                                                                                                  34
 Case: 1:15-cv-00605-MRB Doc #: 39 Filed: 01/26/16 Page: 35 of 56 PAGEID #: 2007




       2011 Dear Colleague Letter: “indicated that we must deconstruct part of the due process

       castle by more equitably employing remedies. Remedies are, by their nature, intended to

       restore the complainant to their pre-discrimination status . . . Equity requires fairness under

       the circumstances, which can and often should lead institutions to create skewed remedies

       that place more restrictions and requirements on respondents. Equity demands that

       complainants should be inconvenienced only as far as absolutely required to remedy the

       discrimination.”). Id., pages 5, 13-14.

116.   A review of Miami’s student policies proves Miami engaged in the practice detailed in

       ATIXA’s Whitepaper by giving alleged sexual assault victims greater rights and

       protections than those accused of committing the assaults. For instance, the 2012-13

       version of MUSH added the following provisions to the 2011-12 version of MUSH:

       “Miami University will extend limited amnesty to a student who has been the alleged

       victim of sexual misconduct. The University will generally not seek to hold the student

       responsible for his/her own violations of the law (e.g., underage drinking) or the Code of

       Student Conduct in which he or she may have been involved during the period immediately

       surrounding the sexual misconduct . . . Miami University will also make changes to the

       victim’s academic and living conditions upon request . . . [c]onfidential medical/counseling

       records and information regarding the victim’s sexual history will not be provided to the

       accused and is not admissible at any disciplinary proceeding.” Compare, Exhibit A, ¶63

       (authenticating Exhibit 62 which contains selected pages of 2012-13 version of MUSH

       provided in response to John Doe’s public records request), with Exhibit A, ¶64

       (authenticating Exhibit 63 which contains selected pages of 2011-12 version of MUSH

       provided in response to John Doe’s public records request).



                                                                                                   35
 Case: 1:15-cv-00605-MRB Doc #: 39 Filed: 01/26/16 Page: 36 of 56 PAGEID #: 2008




117.   Similarly, during the 2014-15 academic year, Miami offered alleged victims of sexual

       assaults the following additional rights and protections which could be imposed even

       before the accused received a hearing: “in addition to the summary suspension of the

       accused . . . . [the Dean of Students may] impose Interim Measures upon request of a

       complaint and request of the alleged victim. Interim Measures include . . . [p]roviding the

       alleged victim with a temporary safe space within the University residence hall . . .

       [m]oving the accused student or the alleged victim so he/she does not share the same

       residence or dining halls . . . [c]hanging class assignments so that the accused and the

       alleged victim do not share the same classes . . . [p]roviding the alleged victim with

       academic support services, including tutoring . . . and/or [p]rohibiting the accused from

       having any contact with the accused victim. Compare, Exhibit 8 (containing 2014-15

       version of MUSH) with Exhibit A, ¶65 (authenticating Exhibit 64 which contains selected

       pages of the 2013-14 version of MUSH produce in response to John Doe’s public records

       request).

118.   According to Exhibit 65 Miami implemented the aforementioned changes to the 2013-14

       version of MUSH in response to the demands of the U.S. Department of Education

       (“DOJ”). See e.g., Exhibit A, ¶66 (authenticating Exhibit 65 containing Student Affairs

       Counsel’s September 17, 2014 Minutes produced pursuant to John Doe's public records

       request which states on page 2 that: the “[c]hanges []to the Student Code of Conduct last

       year under Section 2.1.C Sexual Misconduct . . . all relate to the Title IX regulation updates

       prepared by the U.S. Department of Education.” ).

119.   As a result, John Doe’s Due Process rights and/or Title IX rights were violated in part

       because the procedural protections Miami and/or State Defendants afforded male students



                                                                                                  36
 Case: 1:15-cv-00605-MRB Doc #: 39 Filed: 01/26/16 Page: 37 of 56 PAGEID #: 2009




       like John Doe are unfair, inadequate, and/or designed to limit a male students’ ability to

       obtain a fair and equitable result.

120.   John Doe’s Due Process rights and/or Title IX rights were also violated in part because

       Miami and/or State Defendants’ knew or should have known their actions would have

       adverse impact on male students alleged to have engaged in sexual misconduct with a

       female student (and) were deliberately indifferent to this impact.

121.   John Doe’s Due Process rights and/or Title IX rights were also violated in part because

       Miami and/or State Defendants engaged in gender bias by not offering John Doe the

       aforementioned rights and protections that Miami Policies afforded alleged female victims

       of sexual assaults even though Miami and/or State Defendants knew John Doe was entitled

       to these rights and protections since Jane Doe engaged in physical contact with John Doe

       when he was incapacitated by alcohol.

122.   State Defendants’ conduct violated John Doe’s due process rights in part by irreparably

       damaging John Doe’s “good name, reputation, honor, or integrity” with an unlawful

       disciplinary proceedings that will “seriously damage [his] standing . . . [and] interfere with

       later opportunities for higher education and employment.” See, Goss v. Lopez, 419 U.S.

       565, 573-75 (1975). Evidence of this damage to John Doe can be located in Exhibits 66-

       69 which contain publications that document how falsely accused male college students

       suffered the same – or similar – harm as that suffered by John Doe. See, e.g., Exhibit A,

       ¶67 (authenticating Exhibit 66 containing Janet Halley’s Feb. 12, 2015 article in the

       Harvard Law Review entitled Trading the Megaphone for the Gavel in Title IX

       Enforcement); Id., ¶68 (authenticating Exhibit 67 containing Robin Wilson’s Sept. 3, 2014

       article in The Chronical of Higher Education entitled Presumed Guilty.); Id., ¶69



                                                                                                  37
 Case: 1:15-cv-00605-MRB Doc #: 39 Filed: 01/26/16 Page: 38 of 56 PAGEID #: 2010




       (authenticating Exhibit 68 containing February 18, 2015 Open Letter From Members of the

       Penn Law School Faculty: Sexual Assault Complaints: Protecting Complainants and The

       Accused At Universities). Id., ¶70 (authenticating Exhibit 69 containing Oct. 15, 2014

       Open Letter From Members of Harvard Law School entitled Rethink Harvard’s sexual

       harassment policy).


                                              Count 1
                                        Defamation Per Se
                                 (against Defendant Jane Doe only)


123.   John Doe realleges and incorporates all the allegations contained in preceding paragraphs

       of this Complaint as though fully rewritten herein.

124.   Jane Doe orally and in writing defamed John Doe by falsely alleging he sexually assaulted

       Jane Doe (“Jane Doe’s Allegations”). Jane Doe published Jane Doe’s Allegations to

       Miami employees, Miami Students, and/or other third-parties not involved in Miami’s

       disciplinary proceeding against John Doe.

125.   Jane Doe’s Assault Allegations were made with the intent to be understood by those that

       received the allegations that John Doe committed an offense involving moral turpitude that

       subjected John Doe to potential infamous punishment and therefore imputes the

       defamatory character of the oral and written statements.

126.   Jane Doe’s Assault Allegations were false and defamatory and were made with actual

       malice motivated by ill will, intent to deceive, improper motive, and/or an affirmative act

       to injure John Doe and/or reckless disregard for the truth or falsity of the oral and/or written

       statements.




                                                                                                    38
 Case: 1:15-cv-00605-MRB Doc #: 39 Filed: 01/26/16 Page: 39 of 56 PAGEID #: 2011




127.   In the alternative, Jane Doe negligently made the aforementioned false and defamatory

       statements about John Doe.

128.   Jane Doe’s Assault Allegations were made with the intent to harm John Doe’s standing

       with Miami, his future educational and employment opportunities, and his standing and

       reputation at Miami and in the public at large.

129.   As a direct result of Jane Doe’s Assault Allegations, the character and reputation of John

       Doe at Miami and in the community at large was impaired and he suffered and will continue

       to suffer mental anguish, personal humiliation, and a great loss of reputation.

130.   Jane Doe’s conduct detailed above caused John Doe to seek medical help to address

       profound and ongoing psychological and mental anguish.

131.   As a further direct and proximate cause of Jane Doe’s Assault Allegations, John Doe was

       unlawfully disciplined by Miami, which has or will result in, among other consequences

       and damages, difficulty in gaining entrance to another university comparable to Miami,

       reduced future earning capacity, and attorneys’ fees.


                                             Count 2
                          Intentional Infliction of Emotional Distress
                               (against Defendant Jane Doe only)


132.   John Doe realleges and incorporates all the allegations contained in preceding paragraphs

       of this Complaint as though fully rewritten herein.

133.   When Jane Doe engaged in Jane Doe’s Assault Allegations, she knew or should have

       known her actions would cause John Doe to suffer serious emotional injury, mental

       anguish, and/or a great loss of reputation.




                                                                                              39
 Case: 1:15-cv-00605-MRB Doc #: 39 Filed: 01/26/16 Page: 40 of 56 PAGEID #: 2012




134.     Jane Doe’s Assault Allegations exhibited an intentional, reckless, and/or deliberate

         disregard of the high degree of probability that John Doe would suffer immediate and

         continuing emotional distress.

135.     Jane Doe’s Assault Allegations caused John Doe to seek medical help to address profound

         and ongoing psychological and mental anguish.

136.     Jane Doe’s Assault Allegations were malicious, willful and/or intentional.

137.     As a direct and proximate result of Jane Doe’s aforesaid conduct, John Doe has suffered

         and will continue to suffer, severe and extreme emotional distress.

WHEREFORE, for Counts 1 and 2, John Doe demands judgment against Jane Doe as follows:

   A.       Damages in an amount in excess of Seventy-Five Thousand Dollars ($75,000.00) to

            compensate John Doe’ past and future pecuniary and/or non-pecuniary damages caused

            by Jane Doe’s conduct;

   B.       Judgment for attorneys’ fees, pursuant any applicable statute;

   C.       Judgment for all other reasonable and customary costs and expenses that were incurred

            in pursuit of this action;

   D.       Pre-judgment interest and/or post judgment interest as may be permitted by law and

            statute; and/or

   E.       Such other and further relief as this court may deem just, proper, equitable, and

            appropriate.

                                              Count 3:
       Violation of Title IX –Hostile environment sexual harassment and/or discrimination
                                        (against Miami only)


138.     John Doe realleges and incorporates all the allegations contained in preceding paragraphs

         of this Complaint as though fully rewritten herein.

                                                                                               40
 Case: 1:15-cv-00605-MRB Doc #: 39 Filed: 01/26/16 Page: 41 of 56 PAGEID #: 2013




139.   Pursuant to 20 U.S.C. § 1681, Title IX is a federal statute designed to prevent sexual

       discrimination and/or harassment in educational institutions receiving federal funding.

140.   Title IX of the Education Amendments of 1972, 20 U.S.C. §§ 1681-1688, applies to all

       public and private educational institutions that receive federal funds, including colleges

       and universities. The statute prohibits discrimination on the basis of sex in a school’s

       “education program or activity,” which includes all of the school’s operations. Title IX

       provides in pertinent part: “[n]o person in the United States shall, on the basis of sex, be

       excluded from participation in, be denied the benefits of, or be subjected to discrimination

       under any education program or activity receiving Federal financial assistance.” 20 U.S.C.

       § 1681(a). The United States Supreme Court has held that Title IX authorizes private suits

       for damages in certain circumstances.

141.   Miami receives federal financial assistance and is thus subject to Title IX.

142.   Title IX includes an implied private right of action, without any requirement that

       administrative remedies, if any, be exhausted. An aggrieved plaintiff may seek money

       damages and other relief.

143.   Both the DOE and the DOJ have promulgated regulations under Title IX that require a

       school to “adopt and publish grievance procedures providing for the prompt and equitable

       resolution of student…complaints alleging any action which would be prohibited by” Title

       IX or its regulations. 34 C.F.R. § 106.8(b) (Department of Education); 28 C.F.R. §

       54.135(b) (Department of Justice).

144.   Title IX mandates Miami afford equitable procedures and due process to John Doe which

       includes, but is not limited to: (a) having proper jurisdictional authority to conduct an

       investigation; (b) providing adequate, reliable, and impartial investigation of complaints,



                                                                                                 41
 Case: 1:15-cv-00605-MRB Doc #: 39 Filed: 01/26/16 Page: 42 of 56 PAGEID #: 2014




       including the opportunity to present witnesses and other evidence, and/or (c) that Miami

       employees involved in the conduct of the procedures have adequate training.

145.   Miami knew, or in the exercise of due care should have known, that Miami lacked

       jurisdiction under Miami policies to investigate and/or discipline John Doe for a physical

       encounter Jane Doe initiated with John Doe when he was incapacitated by alcohol. For

       example, the testimony provided at the Hearing proved that John Doe exhibited the signs

       of acute intoxication contained in Miami’s Sexual Assault Training for the Fall of 2014

       which are found in Exhibit 70.    See generally, Exhibit A, ¶71 (authenticating Exhibit 70

       produced pursuant to John Doe's public records request which contains the referenced

       information on pages 58-59, and 62). In addition, Miami’s Sexual Assault Training for

       2013 – contained in in Exhibit 71 - highlighted the errors in prosecuting John Doe by

       stating: it is “[e]stimated that between 55%-77% of all college rapes occurred when

       victims were so intoxicated that they were unable to consent.”             Exhibit A, ¶72

       (authenticating Exhibit 71 produced pursuant to John Doe's public records request which

       contains the referenced material on page 8)(emphasis in original).

146.   Upon information and belief, Miami knew, or in the exercise of due care should have

       known, Miami employees including, but not limited to, State Defendants lacked training

       and ability to carry out their responsibilities under the disciplinary enforcement

       requirements of Title IX. Evidence of this fact is located in Exhibit 72 which suggests: (a)

       Van Grudy-Yoder did not receive either sections of Miami’s training regarding MUSH

       §103 Sexual Assault Hearing Procedures during the academic year 2014-15; and (b) VP

       Brownel only received training in “Part 1” of these procedures.            Exhibit A, ¶73

       (authenticating Exhibit 72 produced in response to John Doe’s public records request).



                                                                                                42
 Case: 1:15-cv-00605-MRB Doc #: 39 Filed: 01/26/16 Page: 43 of 56 PAGEID #: 2015




       Additional evidence is located in Miami’s Affairs Counsel’s November 19, 2014 minutes

       in Exhibit 73 which state: (a) members of hearing “panel[s] must complete required [Title

       IX] training to serve;” and (b) Ash “has been making the rounds to different departments

       for training.” Exhibit A, ¶74 (authenticating Exhibit 73 produced pursuant to John Doe's

       public records request with quoted material located on page 2).

147.   Miami knew, or in the exercise of due care should have known, Miami employees

       including, but not limited to, State Defendants, held unlawful gender biased views which

       motivated the discipline of John Doe.

148.   Miami’s policies fail to meet the standards required by Title IX and/or Due Process

       safeguards in the United States Constitution as interpreted by United States’ courts

       regarding how institutions of higher education conduct disciplinary proceedings.

149.   Upon information and belief, in virtually all cases of campus sexual misconduct by Miami

       students, the accused student is male and the accusing student is female. Evidence

       supporting this allegation is located in Exhibit 74 which contains the sixty-two reported

       “sex offense[s]” identified by Miami’s police department for the years 2011-2014. Exhibit

       A, ¶75 (authenticating Exhibit 74 produced in response to John Doe’s public records

       requests). Only one of these sixty-two alleged offenses identified a male as the victim

       (and) this alleged offense did not take place on Miami’s campus or in Oxford Ohio. Id.,

       p.5. In addition, none of the “sex offense” records identify a female as the perpetrator of

       the alleged “sex offence.” Id.

150.   Miami and/or State Defendants possess a pattern and practice of discriminating against

       male students like John Doe in part because of Miami’s policy in Exhibit 75 of always

       “believ[ing]” the allegations of female students alleging sexual assault.   Exhibit A, ¶76



                                                                                               43
 Case: 1:15-cv-00605-MRB Doc #: 39 Filed: 01/26/16 Page: 44 of 56 PAGEID #: 2016




       (authenticating Exhibit 75 containing Miami’s Title IX Education & Awareness Program

       from May 2014 produced by Miami in response to John Doe’s public records request which

       states on page 3: “Message for Survivors: 1. I believe you. 2. It’s not your fault. 3.

       Resources are available.”).

151.   Upon information and belief, during the Fall of 2013 and the Spring of 2014, Miami and/or

       State Defendants found every male student who was accused by a female of violating

       Miami’s sexual misconduct policy to be “responsible” for that alleged violation. Evidence

       in support of this fact can be located in at least two documents: (1) Exhibit 76 which

       contains Miami’s Disciplinary Board’s Annual Report for 2013-14 stating 10 disciplinary

       cases were heard by the Disciplinary Board during the fall of 2013 and spring of 2014; and

       (2) Exhibit 42 which identifies the male first names of students found responsible for

       §103A violations in 2013 and 2014. Compare, Exhibit A, ¶77 (authenticating Exhibit 76

       produced by Miami in response to John Doe’s public records request); with Exhibit 42

       (containing document produced by Miami in response to John Doe’s public records request

       with the last names of students redacted).

152.   As detailed throughout this Complaint, Miami created an environment in which male

       students accused of sexual assault, such as John Doe, are fundamentally denied due process

       as to be virtually assured of a finding of guilt. Such a biased and one-sided process deprives

       male Miami students like John Doe of educational opportunities on the basis of sex.

153.   Upon information and belief, Miami’s investigation and/or discipline of John Doe was

       taken in order to demonstrate to DOE, DOJ, OCR, President Obama’s Administration,

       and/or the general public that Miami is aggressively disciplining male students accused of

       sexual assault.



                                                                                                  44
 Case: 1:15-cv-00605-MRB Doc #: 39 Filed: 01/26/16 Page: 45 of 56 PAGEID #: 2017




154.   Miami has actual or constructive knowledge that Miami’s investigation and/or discipline

       of John Doe posed a persuasive and unreasonable risk of gender discrimination with regard

       to John Doe.

155.   Miami’s actions and inactions detailed above and below set in motion a series of events

       that Miami knew, or reasonably should have known, would cause male Miami students,

       such as John Doe, to suffer unlawful gender discrimination.

156.   Miami’s investigation and/or discipline of John Doe is discriminatory and based upon or

       motivated by John Doe’s male gender.

157.   The male gender discrimination by Miami against John Doe includes, but is not limited to,

       providing preferential treatment to Jane Doe. This preferential treatment includes, but is

       not limited Miami’s refusal to discipline Jane Doe pursuant to Miami’s policies detailed

       above.

158.   Miami employees, including but not limited to State Defendants, unlawfully failed to

       exercise the authority to institute corrective measures to remedy: (a) Miami’s violations of

       John Doe’s rights under Miami policies, Title IX, and/or guidance promulgated by ORC;

       and/or (b) Miami’s unlawful determination that John Doe violated Miami policies which

       Miami adopted pursuant to federal laws and regulations related to Title IX.

159.   Miami employees, including but not limited to State Defendants, exhibited deliberate

       indifference by refusing to remedy: (a) Miami’s violations of John Doe’s rights under

       Miami policies, Title IX, and/or guidance promulgated by ORC; and/or (b) Miami’s

       erroneous determination that John Doe violated Miami policies which Miami adopted

       pursuant to federal laws and regulations related to Title IX.




                                                                                                45
 Case: 1:15-cv-00605-MRB Doc #: 39 Filed: 01/26/16 Page: 46 of 56 PAGEID #: 2018




160.   Miami’s deliberate indifference caused John Doe to suffer sexual harassment and/or

       discrimination so severe, pervasive or objectively offensive that it deprived John Doe of

       access to educational opportunities or benefits (and) caused other harms detailed above.

161.   Upon information and belief, Miami possesses additional documentation evidencing

       Miami’s unlawful pattern of gender biased decision making which favors female students

       over male students like John Doe who are falsely accused of sexual assault.       Evidence

       supporting this allegation includes, but is not limited to, Miami’s failure to produce the

       audio recordings of the Hearing and John Doe’s meeting with Curme.

162.   Miami’s hostile environment sexual harassment and/or discrimination caused John Doe to

       be damaged in an amount to be determined at trial.


                                            Count 4:
                        Violation of Title IX – Deliberate Indifference
                                     (against Miami only)


163.   John Doe realleges and incorporates all the allegations contained in preceding paragraphs

       of this Complaint as though fully rewritten herein.

164.   Miami employees, including but not limited to State Defendants, acted with deliberate

       indifference towards John Doe because of his male gender.

165.   Miami employees, including but not limited to State Defendants, unlawfully failed to

       exercise the authority to institute corrective measures to remedy: (a) Miami’s violations of

       John Doe’ rights under Miami’s policies, Title IX, and/or guidance promulgated by ORC;

       and/or (b) Miami’s erroneous determination that John Doe violated Miami’s policies which

       Miami adopted pursuant to federal laws and regulations related to Title IX.




                                                                                                46
 Case: 1:15-cv-00605-MRB Doc #: 39 Filed: 01/26/16 Page: 47 of 56 PAGEID #: 2019




166.   Miami employees, including but not limited to State Defendants, exhibited deliberate

       indifference by refusing to remedy: (a) Miami’s violations of John Doe’ rights under Miami

       policies, Title IX, and/or guidance promulgated by ORC; and/or (b) Miami’s erroneous

       determination that John Doe violated Miami policies which Miami adopted pursuant to

       federal laws and regulations related to Title IX.

167.   Upon information and belief, Miami possesses additional documentation evidencing its

       employees and/or agents’ manifest gender based deliberate indifference towards John Doe

       and/or other similarly situated male students.

168.   Miami’s deliberate indifference caused John Doe to be damaged in an amount to be

       determined at trial.

                                                Count 5
                              Violation of Title IX – Erroneous Outcome
                                          (against Miami only)

169.   John Doe realleges and incorporates all the allegations contained in preceding paragraphs

       of this Complaint as though fully rewritten herein.

170.   Miami employees, including but not limited to State Defendants, unlawfully disciplined

       John Doe because of his male gender.

171.   By erroneously disciplining John Doe, Miami violated Miami policies, Title IX, and/or

       guidance promulgated by ORC.

172.   Miami employees, including but not limited to State Defendants, unlawfully failed to

       exercise the authority to institute corrective measures to remedy: (a) Miami’s violations of

       John Doe’ rights under Miami policies, Title IX, and/or guidance promulgated by ORC;

       and/or (b) Miami’s erroneous determination that John Doe violated Miami policies which

       Miami adopted pursuant to federal laws and regulations related to Title IX.



                                                                                                47
 Case: 1:15-cv-00605-MRB Doc #: 39 Filed: 01/26/16 Page: 48 of 56 PAGEID #: 2020




173.    Miami employees, including but not limited to State Defendants, exhibited deliberate

        indifference by refusing to remedy: (a) Miami’s violations of John Doe’ rights under Miami

        policies, Title IX, and/or guidance promulgated by ORC; and/or (b) Miami’s erroneous

        determination that John Doe violated Miami policies which Miami adopted pursuant to

        federal laws and regulations related to Title IX.

174.    Miami’s conduct detailed above involved arbitrary and capricious violations of John Doe’s

        Constitutional Due Process rights.

175.    Upon information and belief, Miami possesses additional communications evidencing

        Miami’s deliberate indifference in imposing unlawful discipline on John Doe on the basis

        of his gender.

176.    Miami’s wrongful discipline of John Doe caused John Doe to be damaged in an amount to

        be determined at trial.

WHEREFORE, regarding Counts 3-5, John Doe demands judgment and relief against Miami as

follows:

   A.      Damages in an amount in excess of Seventy-Five Thousand Dollars ($75,000.00) to

           compensate John Doe’ past and future pecuniary and/or non-pecuniary damages caused

           by Defendants’ conduct;

   B.      Order(s) requiring Miami expunge John Doe’s official Miami files of all information

           related to his interactions with Jane Doe;

   C.      Judgment for attorneys’ fees, pursuant any applicable statute;

   D.      Judgment for all other reasonable and customary costs and expenses that were incurred

           in pursuit of this action;




                                                                                               48
 Case: 1:15-cv-00605-MRB Doc #: 39 Filed: 01/26/16 Page: 49 of 56 PAGEID #: 2021




   E.      Pre-judgment interest and post judgment interest as may be permitted by law and

           statute; and/or

   F.      Such other and further relief as this court may deem just, proper, equitable, and

           appropriate.

                                           Count 6
   Violation of the Procedural and Substantive Component of the Due Process Clause
  of the Fourteenth Amendment to the United States Constitution Pursuant to 42 U.S.C.
                                            §1983
              (Against State Defendants in their official capacities for injunctive relief
                        (and) in their personal capacity for money damages)

177.    John Doe realleges and incorporates all the allegations contained in preceding paragraphs

        of this Complaint as though fully rewritten herein.

178.    The Fourteenth Amendment to the United States Constitution provides that no state shall

        “deprive any person of life, liberty, or property, without due process of law.”

179.    Fourteenth Amendment due process protections are required in higher education

        disciplinary proceedings.

180.    State Defendants are considered state actors who owe John Doe certain protections

        pursuant to the Fourteenth Amendments to the United States Constitution and other

        Constitution provisions.

181.    State Defendants’ conduct detailed in this Complaint violated John Doe’s Due Process

        rights in part by denying John Doe the “fundamentally fair [disciplinary] procedures”

        required by United States Supreme Court decisions such as Goss v. Lopez, 419 U.S. 565

        (1975).

182.    State Defendants’ conduct detailed in this Complaint violated John Doe’s Due Process

        rights in part by irreparably damaging John Doe’s right to pursue an education and future

        educational and employment opportunities and occupational liberty. See e.g., Dixon v.

                                                                                              49
 Case: 1:15-cv-00605-MRB Doc #: 39 Filed: 01/26/16 Page: 50 of 56 PAGEID #: 2022




       Alabama State Board of Education, 294 F.2d 150, cert. denied, 368 U.S. 930, 82 S. Ct.

       368, 7 L.Ed.2d 193 (1961)(stating,          “[i]t requires no argument to demonstrate that

       education is vital and, indeed, basic to civilized society . . . [i]t is most unlikely that a public

       college would accept a student expelled from another public college of the same state.

       Indeed, expulsion may well prejudice the student in completing his education at any other

       institution. Surely no one can question that the right to remain at the college in which the

       plaintiffs were students in good standing is an interest of extremely great value.”).

183.   State Defendants’ conduct violated John Doe’s protected property interest in his education

       (and) right to pursue an education and future educational and employment opportunities

       and occupational liberty.

184.   State Defendants violated John Doe’s Due Process rights in part because John Doe was

       denied a review by a gender-neutral and impartial decision maker.

185.   State Defendants violated John Doe’s Due Process rights in part because John Doe was

       denied a “meaningful” opportunity to clear his name. See e.g., Matthews v. Eldridge, 492

       U.S. 319, 333 (1976)(requiring disciplinary procedures that take place "at a meaningful

       time and in a meaningful manner.").

186.   State Defendants violated John Doe’s Due Process and/or Title IX rights in part because

       the State Defendants’ did not provide John Doe with the specifics of Jane Doe’s allegations

       in Exhibit 1 until less than 24 hours before John Doe’s hearing.

187.   State Defendants violated John Doe’s Due Process rights in part because State Defendants’

       prohibited John Doe from accessing information necessary for his defense and/or internal

       appeal. This information, includes, but was not limited to, Miami’s decision to prohibit

       John Doe’s access the audio recording of his Hearing when he filed his appeal.



                                                                                                        50
 Case: 1:15-cv-00605-MRB Doc #: 39 Filed: 01/26/16 Page: 51 of 56 PAGEID #: 2023




188.   State Defendants violated John Doe’s Due Process rights in part because State Defendants’

       conduct evidenced arbitrary and/or irrational behavior which was not justified by any

       governmental interest.

189.   State Defendants violated John Doe’s Due Process rights in part because State Defendants’

       conduct was motivated by ill will, bad faith, and/or an intent to injure John Doe.

190.   State Defendants violated John Doe’s Due Process rights in part because they engaged in

       the arbitrary abuse of executive power so egregious that it shocks the conscience of the

       public. Evidence of this fact is contained in publications criticizing academics for violating

       the Due Process rights of male college students in the same – or similar way – that State

       Defendants violated John Doe’s Due Process. See e.g., Supra, ¶¶67, 114 (referencing said

       publications). See also, Exhibit A, ¶78 (authenticating Exhibit 77 which contains Richard

       Dorment’s Mar. 25, 2015 article in Esquire entitled Occidental Justice: The Disastrous

       Fallout When Drunk Sex Meets Academic Bureaucracy); Id., ¶79 (authenticating Exhibit

       78 which contains Ashe Schow’s July 14, 2015 article in the Washington Examiner entitled

       Double-Standard on campus sexual assault hearings); Id., ¶80 (authenticating Exhibit 79

       which contains The Economist’s Dec. 6, 2014 article entitled Sex Crimes on Campus

       Professors as Judges: the folly of letting amateurs handle serious crimes).

191.   State Defendants violated John Doe’s Due Process rights in part because John Doe would

       not have been disciplined had State Defendants acted in a gender-neutral manner.

192.   State Defendants violated John Doe’s Due Process rights in part because State Defendants’

       engaged in a gender-biased pattern and/or practice of disregarding and violating the rights

       of male students such as John Doe when these males were accused of sexually assaulting

       a female student.



                                                                                                  51
 Case: 1:15-cv-00605-MRB Doc #: 39 Filed: 01/26/16 Page: 52 of 56 PAGEID #: 2024




193.   State Defendants acted, or failed to act, under color of law, to deprive John Doe’s rights

       and privileges secured by the Fourteenth Amendments to the United States Constitution

       and other Constitution provisions.

194.   State Defendants’ conduct evidenced an intentional, outrageous, and/or reckless disregard

       for John Doe’s constitutional rights.

195.   State Defendants’ conduct towards John Doe lacked any rational basis and/or was

       motivated by ill will or bad faith.

196.   As a result of State Defendants’ Due Process violations, John Doe was suspended and

       suffers ongoing harm, including but not limited damage to his future educational and

       employment opportunities (and) and his standing and reputation which is marred in part by

       State Defendants’ unlawful finding that John Doe engaged in sexual misconduct.

197.   State Defendants’ investigation and/or discipline of John Doe deprive John Doe of his

       interests within the meaning of “life, liberty, or property” contained in U.S. Const. amend.

       XIV, § 1 in part because Defendants violate John Doe’s property right to a transcript

       unmarred by Defendants’ unlawful investigation and/or discipline of John Doe.

198.   Upon information and believe, State Defendants agreed to, approved, and/or ratified the

       various violations of John Doe’s Due Process rights detailed in this Complaint.

199.   State Defendants had actual or constructive knowledge that they were engaging in conduct

       creating a pervasive and unreasonable risk of deprivation of John Doe’s rights under the

       Fourteenth Amendments to the United States Constitution.

200.   Because of State Defendants’ unlawful actions, John Doe is entitled to injunctive relief that

       requires State Defendants expunge John Doe’s official Miami student file of all

       information related his sexual encounter with Jane Doe.



                                                                                                 52
 Case: 1:15-cv-00605-MRB Doc #: 39 Filed: 01/26/16 Page: 53 of 56 PAGEID #: 2025




201.   Because of State Defendants’ unlawful actions, John Doe is entitled to declaratory relief

       that requires State Defendants’ expunge John Doe’s official Miami student file of all

       information related his encounter with Jane Doe.


                                             Count 7-
                             Violation of Equal Protection Clause
               of the Fourteenth Amendment to the United States Constitution
                                  Pursuant to 42 U.S.C. §1983
              (Against Individual Defendants in their official capacities for injunctive relief
                          (and) in their personal capacity for money damages)

202.   John Doe realleges and incorporates all the allegations contained in preceding paragraphs

       of this Complaint as though fully rewritten herein.

203.   The Fourteenth Amendment to the United States Constitution prohibits gender

       discrimination.

204.   As evidenced by the facts and exhibits detailed above, gender discrimination improperly

       caused State Defendants to unlawfully find John Doe responsible for engaging in sexual

       misconduct with Jane Doe.

205.   Upon information and belief, female Miami students suffer no historical disadvantage

       regarding the discernment of consent to intimate physical relationships with male students

       which would allow State Defendants to validly discriminate against male students like John

       Doe.

206.   John Doe brings these claims pursuant to 42 U.S.C. § 1983 because State Defendants’

       actions were taken by State Defendants under color of state law.

207.   Because of these violations, John Doe has suffered considerable emotional distress, loss of

       present and future earnings, humiliation, and damage to his reputation as a result of State

       Defendants’ actions.



                                                                                                  53
 Case: 1:15-cv-00605-MRB Doc #: 39 Filed: 01/26/16 Page: 54 of 56 PAGEID #: 2026




WHEREFORE, regarding Counts 6-7, John Doe demands judgment and relief as follows:

   A.      State Defendants be found liable in their official capacity to John Doe for injunctive

           relieve requiring Miami expunge John Doe’s official Miami files of all information

           related to his interactions with Jane Doe;

   B.      State Defendants be found liable in their personal capacity for money damages in an

           amount in excess of Seventy-Five Thousand Dollars ($75,000.00) to compensate John

           Doe’ past and future pecuniary and/or non-pecuniary damages caused by Defendants’

           conduct;

   C.      Judgment for attorneys’ fees, pursuant any applicable statute;

   D.      Judgment for all other reasonable and customary costs and expenses that were incurred

           in pursuit of this action;

   E.      Pre-judgment interest and post judgment interest as may be permitted by law and

           statute; and/or

   F.      Such other and further relief as this court may deem just, proper, equitable, and

           appropriate.



                                    Count 8 - Injunctive Relief

208.    John Doe realleges and incorporates all the allegations contained in preceding paragraphs

        of this Complaint as though fully rewritten herein.

209.    Based on the facts articulated above and below, John Doe is entitled to injunctive relief

        because Miami and/or State Defendants’ discipline of John Doe is unlawful and violates

        John Doe’ rights under Miami’s policies, federal and/or state laws.




                                                                                              54
 Case: 1:15-cv-00605-MRB Doc #: 39 Filed: 01/26/16 Page: 55 of 56 PAGEID #: 2027




210.    Miami and/or State Defendants’ unlawful discipline of John Doe will cause irreparable

        harm which is certain, great, actual and not theoretical.

211.    Miami and/or State Defendants’ unlawful discipline of John Doe cannot be remedied by

        an award of monetary damages because of difficulty or uncertainty in proof or calculation.

212.    Based on the facts articulated above, John Doe is entitled to injunctive relief which

        includes, but is not limited to an Order requiring Miami and/or State Defendants expunge

        John Doe’s official Miami files of all information related to his interactions with Jane Doe.

213.    The granting of injunctive relief will cause no harm to Miami and/or State Defendants

        because these defendants have no cognizable interest in the unlawful discipline of John

        Doe.

214.    The granting of an injunctive relief will advance a significant and appreciable public

        interest by protecting members of the public – like John Doe –from having their

        fundamental rights threatened by unlawful government action.

WHEREFORE, regarding Counts 8 John Doe demands judgment and relief against Miami and/or

State Defendants as follows:

   G.      Order(s) requiring Miami and/or State Defendants expunge John Doe’s official Miami

           files of all information related to his interactions with Jane Doe;

   H.      Judgment for attorneys’ fees, pursuant any applicable statute;

   I.      Judgment for all other reasonable and customary costs and expenses that were incurred

           in pursuit of this action;

   J.      Pre-judgment interest as may be permitted by law and statute; and/or

   K.      Such other and further relief as this court may deem just, proper, equitable, and

           appropriate.



                                                                                                  55
 Case: 1:15-cv-00605-MRB Doc #: 39 Filed: 01/26/16 Page: 56 of 56 PAGEID #: 2028




                                                    Respectfully Submitted,

                                                    /s/ Eric J. Rosenberg
                                                    Eric J. Rosenberg (0069958)
                                                    Rosenberg & Ball Co. Lpa.
                                                    395 North Pearl Street
                                                    Granville, Ohio 43023
                                                    740.644.1027 phone
                                                    866.498.0811 fax
                                                    ericrosenb@gmail.com

                                       JURY DEMAND


John Doe hereby demand a trial by a jury in this matter.

                                                    /s/ Eric J. Rosenberg
                                                    Eric J. Rosenberg (0069958)




                                                                                  56
